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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 23, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


                                            )
     In re:                                 )                               Chapter 11
                                            )
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1 )
                       Debtor,              )                               Case No. 19-34054-SGJ11
                                            )
     OFFICIAL COMMITTEE OF UNSECURED        )
     CREDITORS,                             )
                       Plaintiff,           )
                                            )
          vs.                               )
                                                                            Adversary Proceeding No. 20-03195
                                            )
     CLO HOLDCO, LTD., CHARITABLE DAF       )
     HOLDCO, LTD., CHARITABLE DAF FUND, LP,
     HIGHLAND DALLAS FOUNDATION, INC., THE )
     DUGABOY INVESTMENT TRUST, GRANT        )
     JAMES SCOTT III IN HIS INDIVIDUAL      )
     CAPACITY, AS TRUSTEE OF THE DUGABOY
     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

                                                              1
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 INVESTMENT TRUST, AND AS TRUSTEE OF                              )
 THE GET GOOD NONEXEMPT TRUST, AND                                )
 JAMES D. DONDERO,
                                                                  )
                            Defendants.                           )
                                                                  )

   AGREED ORDER GRANTING THE OFFICIAL COMMITTEE OF UNSECURED
  CREDITORS’ MOTION TO FURTHER EXTEND THE STAY OF THE ADVERSARY
               PROCEEDING THROUGH OCTOBER 15, 2021

          Upon consideration of The Official Committee of Unsecured Creditors’ Motion to Further

 Stay the Adversary Proceeding through October 15, 2021 [A.P. Docket No. 70] (the “Motion”), 2

          IT IS HEREBY ORDERED that:

          1. The Motion is GRANTED as set forth herein.

          2. The Adversary Proceeding, 3 including any current response deadlines and hearing

              dates, is further stayed through and including October 15, 2021 (the “Stay”).

          3. The Litigation Trustee (as defined in the Plan), which is substituted as plaintiff

              (“Plaintiff”), and defendant CLO HoldCo, Ltd. (“CLO HoldCo”) shall meet and confer

              in an effort to resolve any disputes concerning monies held in the Court’s registry (the

              “Registry Funds”) pursuant to the Court’s Order Denying Motion for Remittance of

              Funds Held in Registry of Court [Docket No. 825]. If Plaintiff and CLO HoldCo are

              unable to reach resolution concerning the Registry Funds, then, notwithstanding

              Paragraph 2 of this Order, the Stay shall not affect the rights of Plaintiff or CLO HoldCo




 2
   On August 11, 2021, the Debtor’s Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
 [Docket No. 1472] (as may be amended, supplemented, or otherwise modified from time to time, the “Plan”) went
 effective (the “Effective Date”). On the Effective Date, the official committee of unsecured creditors in the above-
 referenced bankruptcy case was dissolved pursuant to the terms of the Plan. (Plan at 47.) Pursuant to the terms of the
 Plan, the Litigation Sub-Trust (as defined in the Plan) was formed and the Litigation Trustee is now tasked with
 prosecuting this Adversary Proceeding. (See id. at 26; Debtor’s Notice of Filing of Plan Supplement to the Fifth
 Amended Plan of Reorganization of Highland Capital Management, L.P. (with Technical Modifications) [Docket No.
 1811], Exhibit T [Docket No. 1811-4 at Article II, Section 2.2].)
 3
   Capitalized terms used but not defined herein shall have the respective meanings given to them in the Motion.

                                                           2
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          with respect to the Registry Funds, and either shall be free to seek further relief from

          this Court relating to the Registry Funds.

       4. This Court shall retain jurisdiction over all matters arising from or relating to the

          interpretation or implementation of this Order.


                                     ### End of Order ###




                                               3
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 AGREED AS TO FORM, ENTRY, AND SUBSTANCE:

 SIDLEY AUSTIN LLP                                  KELLY HART PITRE
 /s/ Paige Holden Montgomery
 Paige Holden Montgomery                            /s/ Louis M. Phillips
 Penny P. Reid                                      Louis M. Phillips (#10505)
 Juliana L. Hoffman                                 One American Place
 2021 McKinney Avenue                               301 Main Street, Suite 1600
 Suite 2000                                         Baton Rouge, LA 70801-1916
 Dallas, Texas 74201                                Telephone: (225) 381-9643
 Telephone: (214) 981-3300                          Facsimile: (225) 336-9763
 Facsimile: (214) 981-3400                          Email: louis.phillips@kellyhart.com
                                                    Amelia L. Hurt (LA #36817, TX
         -and-                                      #24092553)
                                                    400 Poydras Street, Suite 1812
 Matthew A. Clemente (admitted pro hac              New Orleans, LA 70130
 vice)                                              Telephone: (504) 522-1812
 Dennis M. Twomey (admitted pro hac vice)           Facsimile: (504) 522-1813
 Alyssa Russell (admitted pro hac vice)             Email: amelia.hurt@kellyhart.com
 One South Dearborn Street
 Chicago, Illinois 60603                            And
 Telephone: (312) 853-7000
 Facsimile: (312) 853-7036                          KELLY HART & HALLMAN
                                                    Hugh G. Connor II
 -and-                                              State Bar No. 00787272
                                                    hugh.connor@kellyhart.com
 QUINN EMANUEL URQUHART &                           Michael D. Anderson
 SULLIVAN, LLP                                      State Bar No. 24031699
 Susheel Kirpalani (pro hac vice pending)           michael.anderson@kellyhart.com
 Deborah J. Newman (pro hac vice pending)           Katherine T. Hopkins
 Benjamin I. Finestone (pro hac vice                Texas Bar No. 24070737
 pending)                                           katherine.hopkins@kellyhart.com
 51 Madison Avenue                                  201 Main Street, Suite 2500
 Floor 22                                           Fort Worth, Texas 76102
 New York, NY 10010                                 Telephone: (817) 332-2500
 Telephone: (212) 849-7000
                                                    Counsel for CLO Holdco, Ltd. and Highland
 Counsel for Marc S. Kirschner, as Litigation       Dallas Foundation, Inc.
 Trustee of the Highland Capital
 Management, L.P. Litigation Sub-Trust




                                                4
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Official Committee of Unsecured Creditor,
       Plaintiff                                                                                                       Adv. Proc. No. 20-03195-sgj
CLO Holdco, Ltd.,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Aug 23, 2021                                               Form ID: pdf001                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 25, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 25, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
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District/off: 0539-3                                               User: mmathews                                                        Page 2 of 2
Date Rcvd: Aug 23, 2021                                            Form ID: pdf001                                                      Total Noticed: 4
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 23, 2021 at the address(es) listed
below:
Name                             Email Address
Bryan C. Assink
                                 on behalf of Defendant James D. Dondero bryan.assink@bondsellis.com

Douglas S. Draper
                                 on behalf of Defendant The Get Good Nonexempt Trust ddraper@hellerdraper.com
                                 dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                                 on behalf of Defendant The Dugaboy Investment Trust ddraper@hellerdraper.com
                                 dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

John J. Kane
                                 on behalf of Defendant Grant James Scott III jkane@krcl.com ecf@krcl.com;jkane@ecf.courtdrive.com

Louis M. Phillips
                                 on behalf of Defendant Highland Dallas Foundation Inc. louis.phillips@kellyhart.com,
                                 june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                                 on behalf of Defendant CLO Holdco Ltd. louis.phillips@kellyhart.com,
                                 june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Paige Holden Montgomery
                                 on behalf of Plaintiff Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

William R. Howell, Jr.
                                 on behalf of Defendant James D. Dondero william.howell@bondsellis.com williamhowell@utexas.edu


TOTAL: 8
